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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION

UNITED STATES OF AMERICA,                 *
                                          *
                            Plaintiff,    *
                                          *
              v.                          *        Civil Action No. 2:18-cr-14
                                          *
DARRIUS MERRELL,                          *
                                          *
                            Defendant.    *

            DEFENDANT DARRIUS MERRELL’S AMENDED MOTION
                  TO MODIFY CONDITIONS OF RELEASE

       Pursuant this Court’s order (Dkt. No. 105) dated March 21, 2018, this Defendant

was released pending trial. Further, the Government did not oppose Defendant

remaining released following his change of plea. One of the conditions of Defendant’s

release is a curfew from 10:00 p.m. to 6:00 a.m.

       Very recently, Defendant’s aunt passed away, and many of his family members

have gathered in Brunswick. In order to allow Defendant additional time to gather and

mourn with his family, he respectfully requests that the start of his curfew be extended

to 11:30 p.m. on January 25 and 26, 2019.

       The undersigned previously filed a motion to amend Defendant’s curfew for

February 1 and 2, but those dates were in error, and Defendant withdraws his request

for a modification of his curfew February 1 and 2.

       The undersigned has discussed this request with counsel for the Government.

Assistant U.S. Attorney Matthew Josephson has informed the undersigned that there is

no opposition to this request.
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 RESPECTFULLY SUBMITTED this the 25th day of January, 2019.


                               s/ Steven Blackerby
                               Steven Blackerby
                               Georgia Bar No.: 141250
                               sblackerby@brbcsw.com
                               Attorney for Defendant Darrius Merrell
                               BROWN, READDICK, BUMGARTNER,
                               CARTER, STRICKLAND & WATKINS, LLP
                               P.O. Box 220
                               Brunswick, GA 31521
                               (912) 264-8544
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                              CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the directives from the Court Notice of Electronic Filing (“NEF”) which

was generated as a result of electronic filing.


       This the 25th day of January, 2019.



                                           s/ Steven Blackerby
                                           Steven Blackerby
                                           Georgia Bar No.: 141250
                                           sblackerby@brbcsw.com
                                           Attorney for Defendant Darrius Merrell
                                           BROWN, READDICK, BUMGARTNER,
                                           CARTER, STRICKLAND & WATKINS, LLP
                                           P.O. Box 220
                                           Brunswick, GA 31521
                                           (912) 264-8544
